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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                          Plaintiff,

         v.                                             No. 20 Civ. 7311 (LAK)

 DONALD J. TRUMP, in his personal capacity,

                          Defendant.


               DECLARATION OF ROBERTA A. KAPLAN IN SUPPORT OF
               PLAINTIFF E. JEAN CARROLL’S MEMORANDUM OF LAW
                IN OPPOSITION TO DEFENDANT DONALD J. TRUMP’S
              RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW

        I, Roberta A. Kaplan, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.      I am a member of the bar of the State of New York and am admitted to appear

before this Court. I am a partner in the law firm Kaplan Hecker & Fink LLP, counsel for Plaintiff

E. Jean Carroll in the above-captioned action.

        2.      I respectfully submit this declaration in support of Carroll’s memorandum of law

in opposition to Defendant Donald J. Trump’s renewed motion for judgment as a matter of law.

        3.      Attached hereto as Exhibit 1 is true and correct copy of excerpts from the official

transcript of the trial in this action.

        4.      Attached hereto as Exhibit 2 is a true and correct copy of PX-1, which was entered

into evidence during the trial in this action.

        5.      Attached hereto as Exhibit 3 is a true and correct copy of PX-2, which was entered

into evidence during the trial in this action.




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        6.      Attached hereto as Exhibit 4 is a true and correct copy of PX-3, which was entered

into evidence during the trial in this action.

        7.      Attached hereto as Exhibit 5 is a true and correct copy of PX-4, which was entered

into evidence during the trial in this action.

        8.      Attached hereto as Exhibit 6 is a true and correct copy of PX-40, which was entered

into evidence during the trial in this action.

        9.      Attached hereto as Exhibit 7 is a true and correct copy of PX-45, which was entered

into evidence during the trial in this action.

        10.     Attached hereto as Exhibit 8 is a true and correct copy of PX-59, which was entered

into evidence during the trial in this action.

        11.     Attached hereto as Exhibit 9 is a true and correct copy of PX-66, which was entered

into evidence during the trial in this action.

        12.     Attached hereto as Exhibit 10 is a true and correct copy of PX-71, which was

entered into evidence during the trial in this action.

        13.     Attached hereto as Exhibit 11 is a true and correct copy of PX-85, which was

entered into evidence during the trial in this action.

        14.     Attached hereto as Exhibit 12 is a true and correct copy of PX-114, which was

entered into evidence during the trial in this action.

        15.     Attached hereto as Exhibit 13 is a true and correct copy of PX-118, which was

entered into evidence during the trial in this action.

        16.     Attached hereto as Exhibit 14 is a true and correct copy of PX-122, which was

entered into evidence during the trial in this action.




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         17.      Attached hereto as Exhibit 15 is a true and correct copy of PX-124, which was

entered into evidence during the trial in this action.

         18.      Attached hereto as Exhibit 16 is a true and correct copy of PX-128, which was

entered into evidence during the trial in this action.

         19.      Attached hereto as Exhibit 17 is a true and correct copy of PX-130, which was

entered into evidence during the trial in this action.

         20.      Attached hereto as Exhibit 18 is a true and correct copy of PX-132, which was

entered into evidence during the trial in this action.

         21.      Attached hereto as Exhibit 19 is a true and correct copy of PX-149-T, which was

entered into evidence during the trial in this action.

         22.      Attached hereto as Exhibit 20 is a true and correct copy of PX-152, which was

entered into evidence during the trial in this action.

         23.      Attached hereto as Exhibit 21 is a true and correct copy of PX-160, which was

entered into evidence during the trial in this action.

         24.      Attached hereto as Exhibit 22 is a true and correct copy of PX-164-T, which was

entered into evidence during the trial in this action.

         25.      Attached hereto as Exhibit 23 is a true and correct copy of PX-165, which was

entered into evidence during the trial in this action.

         26.      Attached hereto as Exhibit 24 is a true and correct copy of PX-166, which was

entered into evidence during the trial in this action.

         I declare under penalty of perjury that the foregoing is true and correct.



Dated:         New York, New York                        __________________________
               March 26, 2024                            Roberta A. Kaplan



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